Case 2:05-cv-02070-.]PI\/|-STA Document 9 Filed 08/30/05 Page 1 of 2 Page|D 14

UNITED s'rATEs DISTRICT coURT F"-'=’°BY »~~ flc-
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KEVIN MILLEN, JUDGM:!:NT IN A cIv:L cng/§ GF'T‘W‘!"M?'{S
plaintiff,
v.
wENDY's REsTAURANT, cAsE No= 05-20'10 ul/An
Defendant.
JUnGm:l-:NT

 

JUDGMENT BY COURT. rI‘his action having come before the Court for
consideration, the issues having been considered, and a decision
rendered,

IT IS THEREFORE ORDEREDl ADJUDGED, AND DECREED t at, in accordance
with the Order of Dismissal, entered August §§ , 2005, this case
is DISMISSED.

APPROVED:

MM&QQ

JON P. MCCALLA
UN ED STATES DISTRICT COURT

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DateU ' Clerk of Court

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02070 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Kevin Millen
4104 Stillwood Dr.
Memphis7 TN 38128

Honorable J on McCalla
US DISTRICT COURT

